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         EXHIBIT 125
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                                                                                    Page 1
                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION
         _________________________________
         IN RE MATTER OF:                                    )
         RICHARD KADREY, et al.,                             )
         Plaintiff,                                          )
                vs.                                          ) C.A. NO.:
         META PLATFORMS, INC.,                               ) 3:23-cv-03417-VC
         Defendant.                                          )
         _________________________________)


                VIDEOTAPED DEPOSITION OF YANN LeCUN, Ph.D.
                                Palo Alto, California
                           Thursday, November 21, 2024
             ** HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY **
                               UNDER THE PROTECTIVE ORDER
         Stenographically Reported by:
         HEATHER J. BAUTISTA, CSR, CRR, RPR, CLR
         Realtime Systems Administrator
         California CSR License #11600
         Oregon CSR License #21-0005
         Washington License #21009491
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         ____________________________________________________
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                                                                                   Page 24
  1    If you have an understanding of the question                               10:27:57

  2    independent of that, by means you can provide it.                          10:28:00

  3                MS. GEMAN:      That question was plainly not                  10:28:04

  4    one that would beget that admonition, so I would                           10:28:05

  5    respectfully request that you keep your objections                         10:28:10

  6    to form.                                                                   10:28:12

  7                MR. WEINSTEIN:       I -- I understand that.             I     10:28:12

  8    understand you weren't meaning to get that, but the                        10:28:13

  9    scope of your question is pretty broad and --                              10:28:15

 10          Q.    (By Ms. Geman)       Do you need to hear the                   10:28:18

 11    question again?                                                            10:28:19

 12          A.    No.    I think there are two aspects.             The          10:28:20

 13    first one is a completely practical one which is                           10:28:22

 14    that those systems are -- are trained -- and the                           10:28:29

 15    answer is different depending on which version of --                       10:28:32

 16                (Stenographer clarification.)                                  10:28:36

 17                THE WITNESS:       -- LLaMA which is the --                    10:28:37

 18          Q.    (By Ms. Geman)       So I will -- I can make the               10:28:39

 19    question more precise.                                                     10:28:40

 20          A.    Yes.                                                           10:28:41

 21          Q.    Do you agree with Meta's decision to fail                      10:28:42

 22    to disclose the training sources for LLaMA 2, 3, and                       10:28:43




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                                                                                   Page 25
  1    4?                                                                         10:28:50

  2          A.    So 4 doesn't exist yet.                                        10:28:53

  3          Q.    I understand that.                                             10:28:55

  4          A.    So there's two things you can list; right?                     10:28:56

  5    So you can list the -- the set of datasets that we                         10:29:01

  6    used to train the system which was done for LLaMA 1.                       10:29:10

  7    It was not done for LLaMA 2 and 3.                                         10:29:13

  8                You can also just redistribute the data and                    10:29:16

  9    that wasn't done for any of the models.                For LLaMA           10:29:19

 10    1, all those sources were publicly downloadable from                       10:29:24

 11    the open Internet.                                                         10:29:28

 12                For LLaMA 3, that wouldn't be possible                         10:29:30

 13    because some of the data comes from -- it's internal                       10:29:32

 14    data essentially from users of Meta's services, and                        10:29:37

 15    so it cannot really be distributed, although that                          10:29:44

 16    content is public.         I mean only constituted of                      10:29:47

 17    public posts and pictures from -- from users of                            10:29:52

 18    Meta's platforms.        So that would not be distributed.                 10:29:57

 19                There's also the fact that it's not really                     10:30:05

 20    useful for that data to be distributed in the first                        10:30:09

 21    place because the reason for open source --                                10:30:12

 22                (Stenographer clarification.)                                  10:30:20




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                                                                                   Page 26
  1                THE WITNESS:       -- open sourcing a foundation               10:30:22

  2    model, such as LLaMA, is -- is to allow people to                          10:30:25

  3    use this model without having to train it from                             10:30:30

  4    scratch which is insanely expensive.               So giving the           10:30:32

  5    data would not help people particularly.                                   10:30:41

  6                And there's a lot of work that goes into                       10:30:45

  7    curating a training dataset.             Basically filtering it            10:30:52

  8    in such a way that it only contains high-quality                           10:30:59

  9    data, and that is not viewed as something that                             10:31:03

 10    should be publicly revealed for various reasons.                           10:31:09

 11          Q.    (By Ms. Geman)       So my question is:         Do you         10:31:13

 12    agree in Meta's decision to fail to disclose the                           10:31:15

 13    training sources for LLaMA 2 and 3?                                        10:31:18

 14          A.    So that was a decision by our legal                            10:31:21

 15    department and I have no input.                                            10:31:24

 16          Q.    But you're the chief scientist and a very                      10:31:28

 17    well-regarded scholar and practitioner of AI, so my                        10:31:30

 18    question is:       Do you agree with that decision?                        10:31:36

 19                MR. WEINSTEIN:       Okay.                                     10:31:38

 20                You can state your personal opinion.               Her         10:31:38

 21    question isn't asking for it, but don't reveal the                         10:31:40

 22    communications you had with counsel.                                       10:31:43




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                                                                                 Page 129
  1    plural or not, and so typically a token represents                         12:41:44

  2    about three-quarter of a word on average.                                  12:41:47

  3                And then there are --                                          12:41:50

  4                (Stenographer clarification.)                                  12:41:55

  5                THE WITNESS:       -- agglutinative languages                  12:41:55

  6    such as German where a word can be constructed by                          12:41:57

  7    sticking together many words, right, so you have to                        12:42:02

  8    break that word into individual components.                 So             12:42:04

  9    that's what a token is, really; it's kind of a unit                        12:42:08

 10    of language that could be smaller than the word.                           12:42:12

 11          Q.    (By Ms. Geman)       So let's just say that was                12:42:16

 12    the only sentence the LLM trained on it, it would                          12:42:17

 13    have a set of tokens for that sentence, right --                           12:42:21

 14          A.    Yeah.                                                          12:42:23

 15          Q.    -- "a sheep, a wolf and a cabbage lived on                     12:42:24

 16    an island."                                                                12:42:28

 17                Would -- if you were to give -- and every                      12:42:29

 18    single time it had -- every single time it trained                         12:42:33

 19    on that sentence, let's say, it would have that same                       12:42:36

 20    group of tokens; right?          Okay.                                     12:42:39

 21                And if you were to sort of show the LLM                        12:42:43

 22    that group of tokens, it could spit out that                               12:42:47




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                                                                                 Page 130
  1    sentence; correct?                                                         12:42:51

  2                MR. WEINSTEIN:       Object to form.                           12:42:54

  3                THE WITNESS:       That's a tricky -- tricky                   12:42:57

  4    answer to that question.                                                   12:43:02

  5          Q.    (By Ms. Geman)       That sentence --                          12:43:07

  6          A.    No, I can answer the question, but --                          12:43:07

  7          Q.    Okay.                                                          12:43:08

  8          A.    Okay.                                                          12:43:10

  9          Q.    Sorry, we're noticing it was an hour and                       12:43:12

 10    counsel was looking at me, so that's what were                             12:43:14

 11    noticing.                                                                  12:43:15

 12                But please -- please go ahead and then we                      12:43:15

 13    can do our lunch break.                                                    12:43:17

 14          A.    Okay.                                                          12:43:19

 15                The same way that if I give you a short                        12:43:19

 16    poem and I keep repeating it to you multiple times,                        12:43:22

 17    you will learn that poem by -- by heart.                 But you're        12:43:28

 18    going to be able to regurgitate that poem, if that's                       12:43:33

 19    the only thing you hear for two days; right?                               12:43:36

 20                But if the space of those two days you read                    12:43:39

 21    two novels, you're not going to be able to                                 12:43:42

 22    regurgitate all the words in those novels.                                 12:43:46




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                                                                                 Page 131
  1                It's exactly the same thing for LLMs.               If         12:43:48

  2    you train them on a small amount of data and it's a                        12:43:50

  3    big LLM with a big capacity, memory capacity, and                          12:43:54

  4    you train it -- you train it on a small amount of                          12:43:56

  5    text, it's probably going to be able to regurgitate                        12:43:58

  6    that, the text you've been training it on, with some                       12:44:02

  7    degree of fidelity.                                                        12:44:05

  8                But if you train it on a lot of data, it                       12:44:08

  9    just does not have the memory capacity to -- to                            12:44:11

 10    store the content and -- and therefore it's not                            12:44:14

 11    going to be able to regurgitate any of those texts                         12:44:17

 12    to any significant extent unless within the training                       12:44:21

 13    set, a particular short segment of text appears                            12:44:26

 14    thousands of times.                                                        12:44:30

 15                So a famous quote, for example, may appear                     12:44:31

 16    thousands of times in a training set and the LLM                           12:44:35

 17    obviously would be able to regurgitate that quote                          12:44:38

 18    because, you know, it appears so many times and it's                       12:44:41

 19    probably part of common language if it appears so                          12:44:44

 20    many times, but it's not going to be able to                               12:44:47

 21    regurgitate the whole novel or even a chapter or                           12:44:50

 22    even a paragraph probably.                                                 12:44:53




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                                                                                 Page 132
  1          Q.    If a large LLM trained on only one book, it                    12:44:55

  2    could regurgitate -- it could regurgitate that book;                       12:44:59

  3    isn't that true?                                                           12:45:02

  4          A.    The answer to that question depends on the                     12:45:07

  5    length of the book and the size of the LLM.                 So if          12:45:09

  6    you train a small language model on a single book,                         12:45:13

  7    it's not going to be able to regurgitate it.                               12:45:16

  8          Q.    LLaMA could; correct?                                          12:45:19

  9          A.    Well, there's sizes of LLaMA.            LLaMA 3               12:45:21

 10    has --                                                                     12:45:25

 11                (Stenographer clarification.)                                  12:45:27

 12                THE WITNESS:       -- several versions of                      12:45:27

 13    various sizes.       The smallest one is 1 billion                         12:45:28

 14    parameters.      And then there is a 7 billion, 70                         12:45:33

 15    billion and a 405 billion.                                                 12:45:34

 16          Q.    (By Ms. Geman)       Are you -- are you                        12:45:36

 17    disputing that LLaMA 3 could regurgitate a book if                         12:45:39

 18    that's all it was trained on?                                              12:45:44

 19          A.    If it was trained on a single book, not too                    12:45:45

 20    long, it might be able to store the entire book in                         12:45:50

 21    its memory and regurgitate it relatively accurately,                       12:45:55

 22    but nobody would want an LLM of this type.                 It would        12:46:00




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                                                                                 Page 133
  1    be an extremely inefficient way of storing a book                          12:46:03

  2    and inaccurate and also expensive.                                         12:46:08

  3                MS. GEMAN:      Okay.                                          12:46:11

  4                We can take a break.                                           12:46:11

  5                THE WITNESS:       Okay.                                       12:46:13

  6                THE VIDEOGRAPHER:          We're going to go off               12:46:14

  7    the record.      The time is 12:46 p.m.                                    12:46:15

  8                (Lunch recess 12:46 p.m. to 1:42 p.m.)                         12:46:26

  9                THE VIDEOGRAPHER:          We are back on the                  12:46:26

 10    record.     The time is 1:42 p.m.                                          13:42:19

 11                Please proceed.                                                13:42:21

 12          Q.    (By Ms. Geman)       Hi, Yann.      Did you have a             13:42:25

 13    good lunch?                                                                13:42:26

 14          A.    Same as yours, I'm afraid.                                     13:42:27

 15          Q.    Okay.                                                          13:42:34

 16                I notice you didn't answer if it was a good                    13:42:34

 17    lunch.                                                                     13:42:37

 18                What is memorization -- what is LLM                            13:42:37

 19    memorization?                                                              13:42:42

 20          A.    So it's something that does not really                         13:42:43

 21    exist in the sense that -- I think as we alluded to                        13:42:44

 22    earlier, when you train an LLM on a large                                  13:42:47




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                                                                                 Page 323
   1                   I, HEATHER J. BAUTISTA, CSR No. 11600,
   2     Certified Shorthand Reporter, certify:
   3            That the foregoing proceedings were taken
   4     before me at the time and place therein set forth,
         at which time the witness declared under penalty of
   5     perjury; that the testimony of the witness and all
         objections made at the time of the examination were
   6     recorded stenographically by me and were thereafter
         transcribed under my direction and supervision; that
   7     the foregoing is a full, true, and correct
         transcript of my shorthand notes so taken and of the
   8     testimony so given;
   9      (XX) Reading and signing was not requested/offered.
 10             I further certify that I am not financially
 11      interested in the action, and I am not a relative or
 12      employee of any attorney of the parties, nor of any
 13      of the parties.
 14             I declare under penalty of perjury under the
 15      laws of California that the foregoing is true and
 16      correct.          Dated:         November 26, 2024
 17
 18
 19
 20
 21                     _______________________________________
 22                     HEATHER J. BAUTISTA, CSR, CRR, RPR, CLR



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